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Doc' Qo_dé': 'AS_M Chester County, Recorder of Deeds Office

Recor¢':ied. Electronically by Simplifile
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QY-.$"~» )0/.. 5' `/

Prepared by and When
Recorded, Mai| to:

 

Attn: John P. Gagnon (SE)

Attomey Code: At-l\/|JUDR
OneWest Bank, FSB

2900 Esperanza Crossing, Dl\/l-01-08
Austin, TX 78758

(512) 506-6931

 

 

 

 

OneWest Bank #: 3002374894 Parcel lD: 28-98-04-0-‘|-»0568~
MiN #: 100058310000831836 MERS Phone: 1.888.679.6377

Pennsylvania Assignment of Mortgage

For value receivedl the undersigned holder, Mortgage E|ectronic Registration Systems, |nc., (MERS)
solely as nominee for LoanCity, A Ca|ifornia Corgoration, whose address is 1901 East Voorhees
Street, Suite C, Danville, lL 61834, does hereby grant, seil, assign, transfer and convey unto OneWest
Bankl FSB, whose address is 888 East Wa|nut Street, Pasadena, CA 91101, that certain l\/lortgage
dated November 03l 2006, made and executed by Adrian Lugu, to and in favor of Mortgage E|ectronic
Registration Systems, |nc., (MERS) solely as nominee for LoanCity, A Ca|ifornia Corporation,
beneficiary under the mortgage, upon the property situated in Chester County, Commonwea|th of
PENNSYLVAN|A, and commonly known as: M Airport Road, Coatesvi|le, PA 19320 (Legal
Description of Property: See legal description attached hereto and made a part hereof as Exhibit
‘A’). Such ii/lortgage having been given to secure payment of $289,600.00, which Nlortgage was
recorded on November 14, 2006 and is of record under instrument Number 10703983, of the Officiai
Records of Chester County, in the Commonweaith of PENNSYLVAN|A, together with the Note(s) and
obligations therein described and the money due and to become due thereon with interest and all rights
accrued or to accrue under such |Vlortgage.

TO HAVE AND TO HOLD, the same unto Assignee, its successor and assigns, forever, subject only to
the terms and conditions of the above-described l\/iortgage.

|N W|TNESS WHEREOF, the undersigned Assignor has executed this Assignment of i\/iortgage on _A_gij
26, 2012.

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|| 23361§§308

 

 

 

onewestBank #: 300237$8§_4==

Certificate of Residence: l, John P. Gagnon, Vice President, do hereby certify that the precise
address of the within named Assignee is: 888 East Walnut Street, Pasadena, CA 91101.

Mortgage E|ectronic Registration Systems, |nc.,
(MERS solely as nominee for oanCity, A Ca|ifornia

 
 
     

 

john P. G'agnon
Vice President

\&

STATE OF TEXAS §
COUNTY OF TRA\/lS §

on April 26, 2012, before me, CO|leen Mara Ashlev , Notary Publio, personally
appeared John P. Gagnon, Vice President, who is personally known to me to be the person whose
name is subscribed to the within instrument and acknowledged to me that he executed the same in his
authorized capacity, and that by his signature on the instrument the person, or the entity upon behalf of
which the person acted, executed the instrument

l certify under PENALTY OF PERJURY under the laws of the State of Texas that the foregoing paragraph
is true and correct

Witn my hand and official sea|.

l P `
colleen Mora Ashloy<>j N°fa"v ubllc

My Commission Expires: `7'!%`4 ZO(J

 

       
 

 

"~l`§.‘"¢:’§/’; coLLEEN MARA Asllu:-v
( Notary Pul:)iic State otTexas
Niy Commission Expires
July 25 2Qi5

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For Recorder’s inforr:n§tjo-lfbply --

 

MoRTGAGE/DEED oF TR=US`T;==='
MORTGAGOR: Adrian Lupu ' ' '
MORTGAGEE: Mortgage Electronic Registration Systems, Inc., as nominee for LoanCity, A California
Corporation, A Coporation, P.O. Box 2026, Flint, MI 48501-2026

AMOUNT: $289,600.00

DATED: 11/03/2006

RECORDED: 11/14/2006

BOOK; 7006

PAGE: 1 7 1 8

 

CERTIFICATE OF RESIDENCE

I do hereby certify that the precise address of the Within-named Assignce is:
888 East Walnut Street, Pasadena, CA 91101

 

Signatory: ~
. , 3
Name. Edward Cotter Date. C//-~?_n f a '(:W,,E"“

 

 

MJU#
PROPERTY ID NO.:
PROPERTY ADDRESS:

 
 
 
 

   

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Exl-llBlT "A“
C.Al.l\l

ALL THAT CERTA|N PARCEL OF VACANT LAND SlTUATE lN WEST*&A+N' TOWNSH|P,
CHESTER COUNTY, PENNSYLVAN|A, BOUNDED AND DESCR\BED ACCORD|NG TO A FlNAL
SUBD|V|S|ON PLAN PREPARED FOR THE C. FRED ECKERT ESTATE BY STAPLETON &
LE|SEY, PROFESS|ONAL LAND SURVEYORS, DATED JUNE 24, 1999, AND LAST REV|SED
SEPTEMBER 16, 1999, AND RECORDED IN THE CHEATER COUNTY RECORDER OF DEEDS
OFFlCE ON OCTOBER 06, 1999, AS SUBDW|S|ON PLAN NO. 15101, AS FOLLOWS, TO Wsz

BEGINN|NG AT A PO|NT ON THE TlTLE LlNE WiTHlN AlR?ORT ROAD (T~409), SA|D POlNT
BEING LOCATED B\' A BEARING OF SOUTH 85 DEGREES 18 MINUTES 07 SECONDS EAST
AND A DlSTANCE OF 50.13 FEET FROM A SP|KE MARK|NG THE NORTHWEST CORNER OF\
LAND OF THE C. FHED ECKERT ESTATE; THENCE FRON| SAID PO|NT OF BEGINNING AND
CONT|NU|NG ALONG THE TlTLE LINE WlTHlN AlRPORT ROAD SOUTH 85 DEGREE.S 18
MlNUTES 07 SECONDS EAST 175.44 FEET TO A PO|NT, A CORNER OF STEVEN M. AND
PAMELA M. GUTHR|E’S LAND; THENCE LEAV|NG THE ROAD AND ALONG SAlD GUTHH|E’S
LAND SQUTH 00 DEGREES 38 MINUTES 04 SECONDS WEST 172.27 FEET TO A FO|NT, A
COF!NER OF PARCEL "A" HAV|NG PASSED OVER AN IRON PlN 25.06 FEET FROM SA|D
POINT WlTHlN AlRPORT ROAD; THENCE ALONG PARCEL "A" TO BE CONVEYED TO STEVEN
M. AND PAMELA M. GUTHR\E FOR THE FOLLOW\NG TWO COURSES AND DISTANCES: (1)
SOUTH 44 DEGREES 25 MlNUTES 00 SECONDS WEST 17.34 FEET TO A PO|NT, AND (2)
SOUTH 00 DEGREES 38 MlNUTES 04 SECONDS WEST 174.35 FEET TO A PO|NT lN LlNE OF
LOT NO. 2; THENCE ALONG LOT NO. 2 FOR THE FOLLOW|NG TWO COURSES AND
DlSTANCES: (1) NOFlTH 85 DEGREES 18 MINUTES 07 SECONDS WEST 163.41 FEET TO A
POlNT, AND (2). NORTH 00 DEGREES 30 MlNUTES 04 SECO NDS EAS`F` 360.00 FEET TO THE
PO|NT AND PLACE OF BEG|NN|NG.

BE|NG LOT NO. 1 AS SHOWN ON THE ABOVE MENTlONED SUBD|VIS|ON PLAN.

THE lMPROVEMENTS THEREON BE|NG COMMONLV KNOWN AS 1332 AlRPORT ROAD,
COATESVILLE, PENNSYLVAN|A 19320.

BE|NG THE SAME LOT OFI PARCEL OF GROUND WH|CH BY DEED DATED MAY 12, 2003
AND RECORDED AMONG THE LAND RECORDS OF CHESTER COUNTY |N BOOK 5713 PAGE
2191, WAS GRANTED AND CONVEYED BY JEFFREY ECKERT AND L|NDA ECKEF\T, HUSBAND
AND WlFE, UNTQ ADR|AN LUPU, AS SOLE OWNER.

 

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DE‘SGLJPCE ESTATE SEPV|CES LLC

 

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